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EMERGENCY

January 8, 2019
VIA ECF and Email to Abrams_N YSDChambers@nysd. uscourts. gov

The Honorable Justice Ronnie Abrams

US District Court, Southern District of New York
Thurgood Marshall United States Courthouse

40 Foley Square, Courtroom: 1506

New York, NY 10007

Re: Asensio et al. v. DiFiore et al., no. 1:18-cv-10933-RA

Vacating the three So Orders (“So Orders”) that contain an unauthorized endorsement,
termination and stay that Your Honor entered on December 17 and 18, 2018, against the
Plaintiffs’ December 14, 2018, Motion for a Pretrial Conference and Scheduling Order
under the Federal Rules of Civil Procedure 16 (a) (2) and (4) and Rule 78 (a) and the
Plaintiffs’ Objections and Opposition to the Defendants’ Request for an Extension of
Time of the Defendants’ deadline to answer of December 17, 2018 (“Plaintiffs’ Motion
1 and Opposition”), interim relief or in the alternative for Your Honor to recuse herself.

Dear Judge Abrams:

1. This complaintl is based on an investigation of New York State Chief Judge Janet l\/l.
DiFiore’s actions against the Plaintiffs that she executed outside of the law and includes her cover-
up of her aetions, actions that only she is responsible for executing The Plaintiffs have demanded
their right to confront Defendant DiFiore before a federal jury trial, not Your Honor, and have
challenged the authority of a state attorney general to defend a state chief judge in such a case. The
complaint presents a prima facie case of deliberate and malicious government acts, executed in
clear absence of any government jurisdiction and outside of the law, against unalienable personal
rights, which rights are untouchable under ancient, English, and US constitutional and supreme
law by Defendant DiFiore. “Justice delayed is justice denied” is especially true in post-divorce
judgment enforcement actions in child custody cases. Immediate interim relief is demanded

 

l The Plaintiffs have proven the allegations against Defendant DiFiore through evidence obtained during an
in-depth four-year investigation The information obtained in the investigation verifies that Defendant DiFiore
directed, authorized, instructed, coordinated, advised, and ordered over 120 senior State officials to take actions outside
of their jurisdiction and outside of the law to protect Defendant Fasanya against the Plaintiffs’ actions and to allow
Defendant Fasanya to retaliate against the Plaintiffs. The Plaintiff simultaneously commenced his investigation and
actions against Defendant Fasanya on l\/[ay 15, 2014, and was forced to withdraw the case before Defendant Fasanya
against Emilie l\/Iarie Bosak as a direct and immediate result of Defendant DiFiore’s malicious and deliberate outside-
of-the-law interferences

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2. A copy of the Plaintiffs’ December 26, 2016 request and the cover page of the complaint
is attached herein. The cover page serves to establish the gravity of Defendant DiFiore’s individual
actions against the Plaintiffs’ life and liberty that need Your Honor’s attention on an emergency
basis before this case goes to a federal jury. This is a simple prima facie case of exalted
government actions that should not be prolonged Rather than endorse a motion to dismiss based
on a disclaimer of federal jurisdiction and official immunity that cannot be apply to avoid federal
judicial authority, Your Honor should be no less, and rightly more so, concerned with the
Plaintiffs’ ongoing damages

3. ln entering the So Orders, Your Honor has used her jurisdiction to act against all processes
that are implicit in concepts of orderly justice and liberty in the same manner as the State
Defendants by departed from all accepted ethical legal principles and courses of action in judicial
proceedings Your Honor acted outside of law, violated US constitutional law and US Supreme
Court law, defying the fundamental premises found in the Magna Carta and in the English courts
that preceded the Magna Carta, which have been incorporated in US Supreme Court law. Your
Honor effectively endorsed the State Defendants’ own departures from law and then directed the
Clerk of the Court to “terminate” the pending Motion 1 with the So Orders. Your Honor has created
the appearance of having (i) no intention of allowing this matter to proceed to trial by a federal
jury; (ii) no intention of protecting the Plaintiffs’ rights, life, and liberty; and (iii) no intention of
allowing a hearing of the facts factors, and circumstances that constitute the Plaintiffs’ cause of
action. The basic facts to be judges by a jury are self-evident The Plaintiffs commenced this action
against Magistrate Adetokunbo O. Fasanya on May 15, 2014. Defendant DiFiore banned the
Plaintiffs’ actions and allowed Defendant Fasanya to retaliate against the Plaintiffs’ unalienable
rights

4. lt is the Plaintiffs’ position that Your Honor went to the extent to “terminate” the Motion
1 and Opposition to avoid addressing the legal questions arising from the governor and state
attorney’s decision to ignore their inherent official duties to investigate the Plaintiffs’ allegations
against Defendant DiFiore. lt is irrational and absurd to allow such a concentration of absolute
power to be used against the Plaintiffs’ unalienable private rights without serious review upfront,
as a first order of business Allowing the state attorney general, who acted outside of the law and
without conducting due diligence while representing Defendant DiFiore and Defendant Fasanya
in New York State, to now jointly represent herself, the govemor, Defendant DiFiore, and
Defendant Fasanya in federal court still without complying with her inherent official duties would
create an enormous conflict of interest and issue of fact that a federal jury should decide_not
Your Honor.

5. Asensl`o el al. v. DiFiore et al. is the first federal lawsuit filed seeking relief and redress
from past and ongoing damages caused by a state chief judge, namely New York State Chief Judge
Janet M. DiFiore, who has engaged in deliberate, malicious misconduct outside of the law in
domestic relations cases2 under the protection of the federal courts The questions of federal law

 

2 This case concerns Defendant DiFiore’s interference in a post-divorce judgment enforcement case. lt
concerns state interference in child-rearing issues involving freedom of speech, religion, and political expression, and
judgments related to morals such as sexual behavior, drug use, work, and education ethics and the honoring of family
heritage and unity. These matters cannot be adjudicated by government-set standards or neutral principles

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that should be settled by Your Honor before jury trial are raised by the Plaintiffs in the Motion 1
and Opposition, not the Defendants. Your Honor has wrongfully and summarily dismissed these
questions without process, comment, or consideration and endorsed the State Defendants’
“memo,” which is the term Your Honor placed upon the State Defendants’ brief letter filled with
conclusions of fact presented without the statement of specific supporting evidence.

6. The extent of Defendant DiFiore’s official misconduct is proven by her intervention in 17
legal and administrative proceedings to protect Defendant Fasanya and at the same time protect,
preserve, and perpetuate her outside-of-the-law domestic relations scheme. Defendant DiFiore is
acting the same way before Your Honor as she did in the state proceedings Therefore, the Plaintiffs
must be straightforward and open with Your Honor in setting forth the reasons behind the urgent
need to vacate the So Orders and deal with the ongoing damages forthwith.

7. The implied judgments and decisions in Your Honor’s So Orders directly contradict and
conflict with the most basic principles of every relevant US Supreme Court domestic relations
decision made in child custody cases and those involving the exalted state government acts that
are the Plaintiffs’ cause of action. This case must be heard by a federal jury, with the obvious need
for strict independence from the comity between state and federal government in general and
specifically state-federal judicial-comity bias Only a federal jury can afford this protection lt
would not be appropriate for comity, politics, or the state’s financial interests to affect the judgment
of a New York State federal judge assigned to this case against the New York State chief judge,
govemor, and the state attorney general, not the state legislatures or the People or New York State.
The Plaintiffs, state citizens and legislative representative are blameless

8. For the reasons shown below, Your Honor’s So Orders must be vacated. Alternatively, the
Plaintiffs respectfully pray that Your Honor recuse herself. Your Honor should know and
understand that she has wrongfully failed to consider the unique inherent national interest of this
case, one which examines private citizens’ absolute and most protected rights versus the State
Defendants’ exalted government actions, which actions were executed by commandeering a state’s
government by the individual acts of three individuals outside of law. Defendants DiFiore’s
response to the Plaintiffs’ investigation is illegal and has been callous, brutal, and ferocious.
Knowing the extent of the damages that the Plaintiffs have suffered, the So Orders clearly
demonstrate wanton carelessness and ill will toward the Plaintiffs. Defendant DiFiore has
mercilessly harmed the Plaintiffs, and this ongoing harm must not be prolonged as if these damages
had no import.

9. The So Orders create the appearance that Your Honor has deployed a strategy to exhaust
the Plaintiffs’ resources and take improper and unauthorized control of the contested facts central
to the Plaintiffs’ right to a jury trial under Rule 38. Your Honor has been assigned to this
groundbreaking judicial corruption case not to try the facts and consider what is damaging to
Defendant DiFiore, but to conduct a speedy hearing before a federal jury. Your Honor does not
have any legal or political power, authority, right, privilege, or discretion to use her assigned
jurisdiction to enter the substantial and material judgments that are concealed in the purportedly
ministerial So Orders Neither does Your Honor have any right to use the So Orders to directly
contradict the Plaintiffs’ factual allegations which this Court must take to be true. The Plaintiffs’
facts are certainly not to be considered any less than those of the State Defendants for any

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legitimate reason. By summarily and deliberately (i) concealing Your Honor’s judgments against
the Plaintiffs, (ii) acting counterfactually against the heart of the complaint and the basic reasons
for this case, (iii) concealing the factual allegations against the State Defendants (iv) mercilessly
prolonging the serious harm Defendant DiFiore is causing to the Plaintiffs while ignoring the
Plaintiffs’ prayers for interim relief and a conference call, and (v) “terminating” the Motion l and
Opposition, thereby protecting the State Defendants from having to reply, and (vi) entering a Sua
Sponte stay of the proceedings Your Honor has created the appearance that she is ready, willing,
and able to act outside of the law based on her personal concerns and political prejudices against
the Plaintiffs.

10. What is even more disturbing is that Defendant DiFiore has admitted that she believes
herself to be operating under the protection of federal authority from under Article lll jurisdiction
Defendant DiFiore cannot assume that the Plaintiffs’ allegations against her of ongoing illegal,
deliberate, and malicious conduct outside of law and any authorized official function are either
true and then pray Your Honor use an already controversial disclaimer of jurisdiction over cases
that formerly would have belonged to ecclesiastical courts protects her. This is the so-called
domestic relations exception (“DRE”)3 that is at the heart of the Plaintiffs’ complaint Furthermore,
this ecclesiastical reasoning begs one obvious question: If federal judges disclaim jurisdiction, how
could New York State substitute the former ecclesiastical process for a process that is outside of
the law‘?

11. The fact is that the federal courts’ Article lll disclaimer is the proximate cause of the
Plaintiffs’ damages lf not for the protection afforded to Defendant DiFiore, the Plaintiffs would
not have suffered damages lf not for the fact that New York State’s judges have unilaterally
abrogated the explicit statute, grant parents the explicit right to a cause of action against judges in
family court (FCA 145) and the DRE, Defendant DiFiore would not be able to boldly exhibit her
shameless contempt for law and reason and lack of apprehension before Your Honor. This also
protects Defendant DiFiore from fear of public scrutiny, which would normally act as a deterrent
The DRE has allowed Defendant DiFiore to create outside-of-the-law processes that do not exist
and cannot exist in the state’s legal texts. Such conduct-is prohibited and cannot be permitted under
the DRE as a matter of fact and reason or under any ethical legal principles or widely held social
norms lt is therefore entirely outside of the law and illegal and criminal under the laws governing
state official conduct. lt is particularly and utterly intolerable in domestic relations matters
involving US citizens’ most private freedoms and rights which, according to US Supreme Court
law, are more precious than property rights

12. The factors facts and circumstances and fact triable issues in this case include the
following twelve: (l) the training of family court judges to direct and disturb proceedings for the
purpose of violating constitutional rights in the Unified Court System’s judicial institute, and the
training and miseducation of court officers to enforce this illegal conduct by judges (2) the use of

 

3 The DRE has been widely criticized by legal scholars as an unfounded and unauthorized prejudicial denial
of US citizenship rights that is linked to political ideology, which in reality means it is outside of the law and therefore
impermissible If anything, the DRE serves the Plaintiffs. All US courts not just federal courts must refuse to decide
questions that cannot be judged through an application of neutral principles Nonetheless, the DRE cannot be used to
grant immunity to the illegal, deliberate, and malicious use of official andjudicial ill will in domestic relations cases

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a committee of judges to render ethics opinions to protect deliberate and malicious judicial
misconduct in family court; (3) securing the private undisclosed consent of the above concealed
system for the governor and state attorney; (4) cooperating with and allowing favored parties to
fabricate serial false domestic violence allegations without punishment or sanctions after they are
dismissed; (5) fabricating unauthorized and impermissible so-called “interim” child custody
suspensions (6) using the chief judge’s political power in all 17 state processes intended to protect
the public from judicial corruption to actually protect judicial corruption; (7) fabricating
unauthorized and impermissible so-called “supervised visitation” orders based on fabricated
unauthorized and impermissible so-called “interim” child custody suspensions (8) using
concealed political rules to interfere with parent-child open communications (9) unauthorized,
deliberate, and malicious acts outside of any authorized jurisdiction or legitimate state purpose
under the alleged justification of to remediate alleged past discrimination; (10) use of DRE and
immunity claims to allege unconditional unlimited protection from all federal claims (including
theft of $225,668.22 as part of Defendant DiFiore’s illegal, prohibited, and impermissible domestic
relations process which costs New York State citizens over an estimated $350,000,000 annually);
(l 1) alleged power to obligate the Plaintiffs to participate in Defendant DiFiore’s scheme with her
political rules and agents and (12) the funneling of ill-gotten private funds into the Family Court’s
18-b system to support political operatives who provide the family court with services in her public
cases

13. The federal courts have thus far ignored the systematic miseducation of judges and court
officers the fabrication of charges and fees and processes in domestic relations that do not exist
in law-all of which are acts outside of the law and contemptuous of the US Supreme Court law’s
most protected and privileged individual rights and freedoms The fact is that Defendant DiFiore
has abused the DRE by using her raw will to deliberately and maliciously fabricate confrontation
conjll'ct, agilation, aggravation disturbance, and disruption in families She regularly converts
straightforward, plain, simple, routine, normal post-divorce judgment child custody enforcement
cases in New York State into state-manufactured conflicts that do not exist in any legal text.
Defendant DiFiore is deliberately using her raw will to create conflicts over questions of religion,
morals and personal preferences and prejudices that cannot be adjudicated through standards or
neutral principles and that do not exist in any state law text.

14. This case should go to trial on a time-is-of-the-essence basis However, the Plaintiffs must
be freed from Defendant DiFiore’s vicious fabrications that she has deliberately and maliciously
created in their private lives The Plaintiffs pray that Your Honor vacate the So Orders and grant
the Plaintiffs’ interim relief or, alternatively, that she recuse herself

i %WE TRUE,

l\/lanuel P(. Asensio
Plaintiff

Sworn to before me this the 8th Day of January, 2019

Notary Puiblic LlNG L WU
Notary Publlc - State of New York
No. 01 WU6382499
Qua|lfled In Klngs County 5
My Commlss|on Exp|res Oct. 29, 2022

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